      Case 6:07-cr-00031-WTM-GRS Document 753 Filed 08/19/09 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA
                                                               7809 AUG 19 AM Q: 50
                            STATESBORO DIVISION
                                                             :.
UNITED STATES OF AMERICA            )
                                                                           ) GA.
                                    )
VS.                                 )           Case No. CR607-31
                                    )
BRIAN DANIEL HUNT, et al.           )


                                  ORDER

       Before the Court is a motion to exonerate bond posted on
behalf of defendant Brian Daniel Hunt (Doc. 750). For good cause

shown, said request is GRANTED.

       IT IS HEREBY ORDERED that the Clerk of the United States

District Court for the Southern District of Georgia shall cancel
the appearance bond of defendant Brian Daniel Hunt and exonerate
the obliger and surety thereon.
       The Clerk is hereby directed to return the $2,500.00 posted on
behalf of Brian Daniel Hunt, with any accrued interest to, Andrew
Campanaro, 9495 Par Drive, Nokesville, Virginia 20181.

        SO ORDERED, this     fl' ' day of August, 2009.

                                    WILLIAM T. MOORE, JR.
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
